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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

In re:
ALLIED SYSTEM HOLDINGS INC, e¢ ai/., Chapter 11
Bank. No. 12-11564 (CSS)

Debtors. (Jointly Administered)

YUCAIPA AMERICAN ALLIANCE FUND Il, LP
et al.,

Adv. Nos. 12-50947 (CSS)
13-50530 (CSS)

Appellants,

Civ. Nos. 13-cv-1580 (SLR)
13-cv-1583 (SLR)

BDCM OPPORTUNITY FUND II, LP,
et al,

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Appellees.

ORDER

At Wilmington this 3\9* day of March, 2016, consistent with the memorandum opinion
issued this same date, IT |S ORDERED that the bankruptcy court’s August 7, 2013 order is
affirmed, and the appeal is denied.

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United States District Judge

